Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 1 of 14




                       Exhibit 2
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 2 of 14


From:            Laroche, Matthew
To:              Scarlato, Matthew; Beville, Matthew; Canellos, George; Martens, Matthew T.; McLucas, William; Smith, Tiffany;
                 Adler, Jeremy
Cc:              Nasse, David; Tenreiro, Jorge; Farer, Jennifer; Murphy, J. Emmett; Solomon, Elisa
Subject:         RE: SEC v. Binance Holdings Ltd., et al. --        Deposition
Date:            Saturday, October 7, 2023 8:40:14 AM



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attachments unless you recognize the sender and know the content is safe.

Matt,

Thanks for the call yesterday. Confirming               deposition on October 18. We understood
from the call that you had confirmed all dates except for                If that’s not correct, please
let us know because we told witnesses to start booking travel. As to                are there other
dates during the week of October 16 that would work for you?   

We disagree that we have been “unable to state” our position on the document requests. As we
explained on the call and in prior correspondence, we believe that many of your requests are
substantially overbroad, unduly burdensome, and go far beyond the scope of the Consent Order and
the guidance provided by Judge Faruqui during our last hearing. These include Document Request
Nos. 1, 2, 23, 30, and 31, and Communication Request No. 2. We do not agree to conduct any
searches specific to those requests (though we believe many of your other requests overlap with
them) or that it is our obligation to propose how to limit them. We will, however, continue to look
for documents beyond what we have already produced that would further demonstrate that BAM
licenses wallet custody software from BHL and has no relationship with Ceffu.

As to the remaining requests, many of which have similar deficiencies, we do not agree that BAM is
obligated to fully comply with all of them as drafted and the fact that we did not identify them in the
preceding paragraph is not a concession that we agree to search for and produce any potentially
responsive document. Rather, we are continuing to review these requests, including by conferring
with our client, and will continue to make productions on a rolling basis to the extent we identify
documents responsive to appropriate requests. As we also explained on our call, our general
approach is to search for documents that were specifically identified by you and to conduct targeted
searches to your more limited communications requests. We also anticipate that we may need to
confer with you again about some of those requests as issues arise based on our diligence and
review, including but not limited to the issues raised today concerning requests for source code.

Finally, we ask that you please share any specific questions or concerns you have concerning the
availability of customer assets based on the verified accounting and other productions so that we
can confer about how best to address them.

Thanks,
Matt


From: Scarlato, Matthew <scarlatom@SEC.GOV>
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 3 of 14


Sent: Friday, October 6, 2023 6:10 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer
<FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Solomon, Elisa
<SolomonEl@SEC.GOV>
Subject: [EXT] RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

Counsel:

As discussed on our call today, the SEC still needs to understand BAM’s positions as to our
September 21 requests so we can determine the issues we need to raise to the Court in the
joint status report. But it is now after business hours and the report is due at 9 am the next
business day, so it appears unlikely we can obtain an extension of the deadline even if we
wanted to. Further, Monday is a holiday, and it is unclear the extent to which the SEC will
be able to continue to negotiate these issues with you before the deadline. Thus, the SEC
may have no choice but to file its own status report that will, among other things, note
BAM’s inability to state its positions to permit the SEC a reasonable opportunity to respond,
let alone resolve, any outstanding disputes.

That said, please advise when you expect to send us BAM’s positions on our September 21
requests. The SEC will do what it can to respond over the holiday weekend.

Finally, on a separate issue, we can confirm that we are available to depose            (or
any other shard holder) in DC on October 18. It will begin with an inspection of the key
shard device, as we discussed. Please confirm it ASAP.

Thank you.


Matthew Scarlato
Senior Trial Attorney
U.S. Securities & Exchange Commission
Division of Enforcement
100 F Street, NE
Washington, DC 20549
(202) 551-3749




From: Laroche, Matthew <MLaroche@milbank.com>
Sent: Thursday, October 5, 2023 8:36 AM
To: Scarlato, Matthew <scarlatom@SEC.GOV>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 4 of 14


Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer
<FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Solomon, Elisa
<SolomonEl@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

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attachments unless you recognize the sender and know the content is safe.

Matt – we’re trying to align schedules but I think it’s unlikely that we’re going to find a time earlier
than tomorrow morning. Please let us know your team’s availability.

Thanks,
Matt


From: Scarlato, Matthew <scarlatom@SEC.GOV>
Sent: Tuesday, October 3, 2023 10:42 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer
<FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Solomon, Elisa
<SolomonEl@SEC.GOV>
Subject: [EXT] RE: SEC v. Binance Holdings Ltd., et al. --  Deposition


Matt:

We obviously disagree with your characterization of the record. We have been trying to, as
you say, “meaningfully negotiate” for several weeks but have received zero progress on your
end, which I think we can all agree is not what the Magistrate expected.

Since time is short before the required status report and ensuing hearing, can we meet to
discuss these issues before Friday? We will also get back to you on the deposition dates, but
for now, note that, given the schedule for next week, it is unlikely we can move forward with
         on 10/12.

Thanks.


Matthew Scarlato
Senior Trial Attorney
U.S. Securities & Exchange Commission
Division of Enforcement
100 F Street, NE
Washington, DC 20549
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 5 of 14


(202) 551-3749




From: Laroche, Matthew <MLaroche@milbank.com>
Sent: Tuesday, October 3, 2023 7:06 PM
To: Scarlato, Matthew <scarlatom@SEC.GOV>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer
<FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Solomon, Elisa
<SolomonEl@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

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attachments unless you recognize the sender and know the content is safe.

Matt,

Thanks. We have a different view of what happened at the hearing. On documents, our strong
sense was that Judge Faruqui expected the SEC to serve document requests that were limited and
targeted the topics/documents/issues of most concern to the SEC. Instead, the SEC served over 60
requests many of which are not targeted, have no date restriction, and cover topics far beyond
those raised at the hearing. You note below that this is a “substantial narrowing” of the SEC’s initial
requests, but those initial requests asked for every document in our possession concerning customer
assets. Regardless, as I noted in my email below, we’re working through your requests and will
provide our position on a reasonable timeframe.     

On depositions, during the hearing, we raised that the one deposition of a shardholder to date took
almost seven hours. In response, the SEC sought to assure the Court that the other shardholder
depositions would be much shorter and more limited. Now, the SEC’s position is that it is entitled to
seven hours for each shardholder and is not limited to questioning them about their role as
shardholders. This is not consistent with the SEC’s position at the hearing or our understanding of
what Judge Faruqui contemplated when he indicated that BAM should consider agreeing to
shardholder depositions. Moreover, questioning shardholders about unlimited topics would be
inefficient and is unnecessary given that the SEC also requested a 30(b)(6) deposition, which will
presumably cover those same topics, many of which were already addressed by those deposed to
date. Again, BAM is willing to make shardholders available for depositions on the conditions
outlined in my earlier email, and we propose dates for six of those witnesses further below.

Finally, we’re willing to meet and confer and are available Friday morning to do so. But we do not
believe it will be useful if the SEC is unwilling to meaningfully negotiate on these issues. The SEC’s
position appears to be that BAM must answer 60+ additional requests (including by providing its
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position on each request in less than two weeks); have its employees sit for nine additional
depositions covering unlimited topics concerning customer assets; and still be subject to more
discovery and more depositions with no discernible end point.   When BAM has asked for reasonable
concessions, such as time and subject matter limitations on shardholder depositions or some
reasonable assurance that there will be an end to expedited discovery requests, the SEC has rejected
them. We believe the SEC’s position is unreasonable and if it is not willing to meaningfully change it,
then we should simply raise these issues with Judge Faruqui.

Proposed Deposition Schedule (*subject to agreement on BAM’s proposed conditions)

   1.                                           
   2.
   3.
   4.
   5.
   6.

Thanks,
Matt


From: Scarlato, Matthew <scarlatom@SEC.GOV>
Sent: Monday, October 2, 2023 2:47 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Farer, Jennifer
<FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Solomon, Elisa
<SolomonEl@SEC.GOV>
Subject: [EXT] RE: SEC v. Binance Holdings Ltd., et al. --  Deposition


Matt:

Thanks for your email. We should set up a time in the next few days to follow up on
our September 26 discussion and walk through the outstanding document and
deposition issues in detail. To frame the discussion as to documents, we have sent
you our targeted list as Judge Faruqui indicated—which consists of a substantial
narrowing of our prior document requests—and now we need to know BAM’s
responses to each of them, rather than you simply stating BAM’s general view that the
SEC’s position is unreasonable. These are not new document requests, but a good
faith effort to provide greater fidelity to our existing requests consistent with the
Court’s guidance, and this additional specificity will naturally lead to an increase in
the separately enumerated types of documents requested.
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Further, you have now had these requests for 10 days which should be more than
enough time (especially in the context of expedited discovery) to be prepared to have
detailed and productive meet and confer regarding these document requests. We
thought we had made progress during our last call and, based on our discussion, had
expected to receive from you a list identifying the requests you deemed satisfied along
with the corresponding documents you believe satisfy such requests and your position
as to the remaining requests for further discussion. Please provide this information
by close of business tomorrow, so we can have a productive discussion in an effort to
resolve or minimize the open issues.

As to depositions, Judge Faruqui was clear that he envisioned an iterative process and
that the SEC is entitled to start with the depositions of all shard holders and other
deponents named in our motion to compel other than               and Lee, with the
understanding that the SEC may require more depositions (including              /Lee)
after this next round is completed. We also do not recall Judge Faruqui indicating
that the SEC’s deposition time should be limited in any way. Rather, at the hearing,
we specifically discussed the SEC’s position that the shard holder deposition time
cannot be arbitrarily limited as BAM requests because certain shard holders have
relevant roles beyond that of simply a shareholder, but we would endeavor to work
with BAM to maximize efficiencies and limit the time where appropriate. Our
position remains the same—that, as appropriate, we are willing to try to work with
BAM on this issue to move forward.

As a path forward, we ask that BAM propose dates starting the week of October 16 for
the remaining depositions as identified in our September 21 letter, and then we meet
and confer in the next couple days to walk through our targeted list of requested
documents, deposition scheduling, and any other unresolved discovery issues. To
make the discussion as efficient as possible, please provide the information requested
above as to each document request.

To the extent we cannot come to an agreement on these issues, we can memorialize
them in the joint status report for the Court and seek a resolution during our next
hearing on October 13.

Please let us know when your team is available to meet and confer on the above.

Finally, note that we are including on this email our new team member, Elisa
Solomon. Please include her going forward.

Thanks.   



From: Laroche, Matthew <MLaroche@milbank.com>
Sent: Monday, October 2, 2023 10:02 AM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Beville,
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 8 of 14


Matthew <Matthew.Beville@wilmerhale.com>; Canellos, George <GCanellos@milbank.com>;
Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; McLucas, William
<William.McLucas@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler,
Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

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Jen and Emmett,

We remain willing to work with you but your position is unreasonable. You are demanding that BAM
submit to nine additional depositions (without any time or subject matter limitations for
shardholders) and respond to over 60 additional document requests, and yet will provide no
assurance that expedited discovery will end even if BAM complies. We do not believe this approach
is consistent with the Consent Order; Judge Faruqui’s guidance at the hearing, including that the SEC
make limited and targeted requests to BAM; or the SEC’s representations at that hearing, including
that shardholder depositions would be limited and less than 7 hours.

We are willing to agree to your requested depositions on the conditions that shardholder
depositions (except for                are limited to 3.5 hours concerning their role as
shardholders. If you do not agree to those conditions, then you will need to raise the issue with
Judge Faruqui. As to document requests, you served us with over 60 requests. While some are
narrow, many are not. We are working through those requests and will provide you our position and
productions on a reasonable timeframe. Finally, as we explained during our meet-and-confer, our
position is that once the foregoing depositions and document productions are complete, expedited
discovery should be over.    

Thanks,
Matt


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Friday, September 29, 2023 4:53 PM
To: Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Beville, Matthew
<Matthew.Beville@wilmerhale.com>; Laroche, Matthew <MLaroche@milbank.com>; Canellos,
George <GCanellos@milbank.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>;
McLucas, William <William.McLucas@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>
Subject: [EXT] RE: SEC v. Binance Holdings Ltd., et al. --  Deposition
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 9 of 14


Counsel,

Following up on the email below and our September 21 letter. Please send us your position on the
issues identified below for each of the document requests and dates for depositions, so we can
move forward.

Thanks.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Sent: Wednesday, September 27, 2023 5:51 PM
To: Beville, Matthew <Matthew.Beville@wilmerhale.com>; Farer, Jennifer <FarerJ@SEC.GOV>;
mlaroche@milbank.com; gcanellos@milbank.com; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; McLucas, William <William.McLucas@wilmerhale.com>;
Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --    Deposition

Counsel,

Following up on our meet and confer call yesterday, please let us know as soon as possible
your position on each of the document requests we sent last Thursday, including (1) whether
you agree to search for and produce responsive documents and communications; and (2)
confirming whether you believe you have already produced responsive documents such that
no further search is necessary for a given request (in which case please identify the
documents). Please also let us know whether BAM agrees to produce the witnesses listed in
our letter for deposition. Since the requests were sent almost a week ago we ask that your
response with proposed dates be no later than tomorrow.  

As we discussed yesterday, we are aligned in endeavoring to make all depositions as efficient
as possible, and we expect at least one of the shard holder depositions (and perhaps others)
will take far less than 7 hours. But given the roles of many of the deponents in matters relevant
to the issues covered in the Consent Order we don’t believe further strict time limitations are
appropriate at this time. We are hopeful that you will provide fulsome discovery responses to
the specific requests in our September 21 letter with the production of company documents
and communications that will substantially satisfy BAM’s discovery obligations under the
Consent Order, although of course we reserve the right to seek additional information relating
to information that arises in discovery. We also expressly reserve the right to seek additional
witnesses’ deposition testimony, consistent with the Consent Order, the Federal Rules, and the
Court’s explicit directive to sequence depositions (including those of Mr. Shroder and Ms.
Lee).

Emmett
   Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 10 of 14


From: Beville, Matthew <Matthew.Beville@wilmerhale.com>
Sent: Monday, September 25, 2023 9:48 PM
To: Murphy, J. Emmett <MurphyJoh@SEC.GOV>; Farer, Jennifer <FarerJ@SEC.GOV>;
mlaroche@milbank.com; gcanellos@milbank.com; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; McLucas, William <William.McLucas@wilmerhale.com>;
Smith, Tiffany <Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>
Subject: Re: SEC v. Binance Holdings Ltd., et al. --    Deposition

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attachments unless you recognize the sender and know the content is safe.

Hi Emmett,

Is your team available after 4pm tomorrow?

Best,
Matt

From: Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Sent: Monday, September 25, 2023 3:10:22 PM
To: Farer, Jennifer <FarerJ@SEC.GOV>; mlaroche@milbank.com <mlaroche@milbank.com>;
gcanellos@milbank.com <gcanellos@milbank.com>; Martens, Matthew T.
<Matthew.Martens@wilmerhale.com>; McLucas, William <William.McLucas@wilmerhale.com>;
Beville, Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

EXTERNAL SENDER


All,

Following up on Jen’s letter and the call Friday: can we get on a call tomorrow to push this forward?
If you give us some windows that work we’ll plan to send an invite. Thanks.

Emmett


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Thursday, September 21, 2023 4:28 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Canellos, George <GCanellos@milbank.com>;
Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com;
  Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 11 of 14


Beville, Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

Matt,

Following up the September 18 hearing, attached please find correspondence regarding the
targeted discovery requests that fall within our June 23 Requests for Production and additional
depositions. Please let us know when you’re available tomorrow or Monday to discuss the attached
and your email below.

You’ll note we did not include counsel for the other Defendants on this correspondence based on
the issue of confidentiality of shard holders that you raised during recent depositions. Let’s plan to
discuss this issue as well during our upcoming discussion.

Thanks.

Jen

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Laroche, Matthew <MLaroche@milbank.com>
Sent: Thursday, September 21, 2023 2:45 PM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com; Beville,
Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>;
Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --   Deposition

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Jen,

We want to work with you and your team to resolve the remaining issues with expedited discovery.
We believe the most efficient way to do so is to come to an agreement concerning the remaining
scope of that discovery, including depositions and document productions. As you know, you’ve
already taken four depositions and are now asking for an additional nine depositions, which is
several more than authorized under the Federal Rules. We also are awaiting more limited document
requests pursuant to the Court’s guidance at the hearing.
  Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 12 of 14



In an effort to reach a resolution, we are open to agreeing to the depositions below on the
conditions that the SEC (i) agrees to limit the depositions of shard holders (with the exception of
            to 3.5 hours; (ii) confers with BAM concerning the scope of the 30(b)(6) notice; (iii)
agrees to seek no additional depositions of BAM employees absent a showing of new information
demonstrating good cause for such a request; and (iv) provides revised document requests per the
Court’s direction, which substantially limit the SEC’s remaining requests.

We think this represents an appropriate compromise that allows the SEC to further explore the
specific concerns expressed at the hearing while offering BAM some reasonable end point to
expedited discovery. We also note that, to the extent we reach an agreement concerning the
additional depositions, the SEC needs to seek permission from our co-defendants as well or
otherwise seek leave from the Court under FRCP 30(a)(2).

Please let us know your views.

Thanks,
Matt


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Tuesday, September 19, 2023 10:36 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Canellos, George <GCanellos@milbank.com>;
Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com;
Beville, Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: [EXT] RE: SEC v. Binance Holdings Ltd., et al. --  Deposition


Counsel,

Following up on my email below regarding dates for further review of the shard device and
software and the production of screenshots.

In addition, please provide available dates for in-person depositions in DC for the individuals
listed below, preferably in the order they are identified. For certain individuals, we are open
to discussing scheduling more than one deposition on a given day, as well as remote options.

   1.
   2.
   3.
   4.
   5.
   6.
   7.
  Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 13 of 14


   8.

Please also let us know your position on a 30(b)(6) deposition. As discussed, we believe such
deposition testimony on the identified topics would be an efficient and effective way to get to
the heart of the issues and may alleviate the need for, or at least help streamline, the
depositions of some of the other individuals.
  
Please let us know if you have any questions or want to discuss.

Thank you.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Farer, Jennifer
Sent: Friday, September 15, 2023 2:55 PM
To: Laroche, Matthew <MLaroche@milbank.com>; Canellos, George <GCanellos@milbank.com>;
Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com;
Beville, Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

Counsel,

Following up on our agreement for another session to review the shard device and software, please
provide dates next week or the week after, preferably in DC. In advance of that session, please
provide the screenshots you mentioned you are planning to produce.

In addition, please let us know who is the new signatory/authorized personnel on the accounts for
which Mr. Shroder (or any other departed or departing employee) are signatories or otherwise have
authority to control the accounts and/or transfer or withdraw assets and provide documentation of
those changes.

Thank you.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549

From: Laroche, Matthew <MLaroche@milbank.com>
Sent: Tuesday, September 12, 2023 10:50 AM
To: Farer, Jennifer <FarerJ@SEC.GOV>; Canellos, George <GCanellos@milbank.com>; Martens,
Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com; Beville,
Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany <Tiffany.Smith@wilmerhale.com>;
  Case 1:23-cv-01599-ABJ-ZMF Document 164-1 Filed 10/26/23 Page 14 of 14


Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: RE: SEC v. Binance Holdings Ltd., et al. --  Deposition

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attachments unless you recognize the sender and know the content is safe.

Jen,

I can speak at 11am if that’s still open for you. I’m also free at noon if that’s better for you/others.

Thanks,
Matt


From: Farer, Jennifer <FarerJ@SEC.GOV>
Sent: Monday, September 11, 2023 2:35 PM
To: Canellos, George <GCanellos@milbank.com>; Laroche, Matthew <MLaroche@milbank.com>;
Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; William.McLucas@wilmerhale.com;
Beville, Matthew <Matthew.Beville@wilmerhale.com>; Smith, Tiffany
<Tiffany.Smith@wilmerhale.com>; Adler, Jeremy <Jeremy.Adler@wilmerhale.com>
Cc: Nasse, David <nassed@SEC.GOV>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Scarlato, Matthew
<scarlatom@SEC.GOV>; Murphy, J. Emmett <MurphyJoh@SEC.GOV>
Subject: [EXT] SEC v. Binance Holdings Ltd., et al. --  Deposition


Counsel,

We would like to set up a quick call in connection with                  upcoming deposition to
discuss (1) our request for             to bring to his deposition the key shard device for
inspection and (2) any issues you anticipate concerning questions that address
role as a shard holder and the device/software in light of certain objections made during Mr.
Zhang’s deposition.

Please let us know when you’re free to discuss, as we’d like to resolve any issues in advance,
to the extent possible.

Thanks.

Jennifer L. Farer
U.S. Securities and Exchange Commission
100 F Street N.E. | Washington, D.C. 20549
